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 4                                   UNITED STATES DISTRICT COURT
 5                                         DISTRICT OF NEVADA
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 7
       UNITED STATES OF AMERICA,                                    Case No.: 2:13-cr-051-JAD-CWH
 8
                        Plaintiff,
 9                                                                               Order
       vs.                                                                     (RE: #261)
10
       JEREMY GREENE-LEWIS,
11
12                      Defendant.

13
14             Good cause appearing, and as the Government has stated it does not oppose the request,1 IT

15    IS HEREBY ORDERED that Defendant’s Motion to Correct Presentence Investigation Report

16    Consistent with Objections and Exceptions to Proposed Presentence Investigation Report Filed

17    September 23, 2014, (Doc. 261) is GRANTED. The Presentence Investigation Report shall be

18    amended consistent with the objections and exceptions. Counsel is directed to provide a copy of this

19    order to the Probation Office.

20             DATED February 18, 2015.

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                                                   Jennifer
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                                                            A DDorsey
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                                                                or
23                                                 United
                                                        d States District
                                                                   i i Judge
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           Doc. 262.
